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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------x
E.G., individually and as parent and natural              :
guardian of A.I. and L.I., minor children;                :   Index No. 20-CV-9879
M.M., individually and as parent and natural :
guardian of E.H., L.H., Ev.P., and E.P.,                  :
minor children; O.M., individually and as                 :
parent and natural guardian of A.M., a minor :
child; and COALITION FOR THE                              :   CASE NO.
HOMELESS, on behalf of themselves and                     :
all others similarly situated,                            :
                                                          :
                     Plaintiffs,                          :
                                                          :
         -against-                                        :
                                                          :
THE CITY OF NEW YORK; NEW YORK                            :
CITY DEPARTMENT OF EDUCATION;                             :
RICHARD A. CARRANZA, as Chancellor of :
the New York City Department of Education; :
NEW YORK CITY DEPARTMENT OF                               :
SOCIAL SERVICES; STEVEN BANKS, as :
Commissioner of the New York City                         :
Department of Social Services; NEW YORK :
CITY DEPARTMENT OF HOMELESS                               :
SERVICES; JOSLYN CARTER, as                               :
Administrator of the New York City                        :
Department of Homeless Services; NEW                      :
YORK CITY HUMAN RESOURCES                                 :
ADMINISTRATION; GARY JENKINS as                           :
Administrator of the New York City Human :
Resources Administration; NEW YORK CITY :
DEPARTMENT OF INFORMATION                                 :
TECHNOLOGY AND                                            :
TELECOMMUNICATIONS; and JESSICA :
TISCH, as Commissioner of the New York                    :
City Department of Information Technology :
and Telecommunications,                                   :
                                                          :
                              Defendants.
                                                          :
--------------------------------------------------------x

   DECLARATION OF GRANT R. MAINLAND IN SUPPORT OF ORDER TO SHOW
               CAUSE FOR A PRELIMINARY INJUNCTION
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I, Grant R. Mainland, hereby declare as follows:

       1.      I am a partner at the law firm Milbank LLP, counsel to Plaintiffs in the above-

captioned action. I am a member in good standing of the bar of the State of New York and of this

Court. I submit this Declaration in support of Plaintiffs’ Motion for a Preliminary Injunction (the

“Motion”).

       2.      Rule 6.1(d) of the Local Rules of the Unites States District Courts for the Southern

and Eastern Districts of New York (the “Local Rules”) provides: “No ex parte order, or order to

show cause to bring on a motion, will be granted except upon a clear and specific showing by

affidavit of good and sufficient reasons why a procedure other than by notice of motion is

necessary, and stating whether a previous application for similar relief has been made.”

       3.      Rule 6.1(b) of the Local Rules provides the required timing for briefing on civil

motions that are brought on notice of motion, other than discovery motions referenced in Rule

6.1(a). As applied here, if the Motion were brought on notice of motion, briefing would not be

complete until December 14, 2020, potentially with a hearing to follow. The relief sought by the

Motion is an injunction ordering Defendants to equip all shelters housing school-aged children in

New York City with reliable WiFi access as soon as reasonably practicable, but in no event later

than January 4, 2021—the date on which New York City public schools resume session in 2021.

       4.      The order to show cause procedure is necessary here given the urgent need to

remedy the internet access issues presented by this lawsuit on a timetable that will provide

meaningful relief to Plaintiffs, whose minor children have been prevented from meaningfully

participating in school due to lack of internet access in the City’s shelters. To proceed by way of

notice of motion is not realistic here; by the time the Motion is adjudicated, if the Court were to
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grant the injunction sought by the Motion, it might be practically impossible for Defendants to

comply with the Court’s order.

       5.     Plaintiffs have not made a previous application for similar relief in this action.

       6.     I declare under penalty of perjury that the foregoing is true and correct to the best

of my knowledge, information, and belief.

       Executed this 23rd day of November 2020.

                                             /s/ Grant R. Mainland
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                                             New York, NY 10001
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                                             Attorneys for Plaintiffs




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